AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                   Middle District of Tennessee

                  United States of America                        )
                                                                  )
                               V.
                                                                          Case No.    16 " 300g MB
          AHMED MOHAMED SHEIKH OSMAN                              )



                          Defendant(s)


                                                CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                 February 28, 2016             in the county of               Wilson            in the
        Middle         District of          Tennessee          the defendant(s) violated:

            Code Section                                                    Offense Description
Title 18, United States Code,                 threaten to assault, kidnap, or murder, a Federal law enforcement officer,
Section 115(a)(1)(B)                          Patrick Wright, a Special Agent with FBI, whose killing would be a crime
                                              under such section, with intent to impede, intimidate, or interfere with such
                                              law enforcement officer while he was engaged in the performance of official
                                              duties, or with intent to retaliate against such law enforcement officer on
                                              account of the performance of official duties, in violation of Title 18, United
                                              States Code, Section 115(a)(1)(B).


          This criminal complaint is based on these facts:
SEE ATTACHED AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLANT




          Q( Continued on the attached sheet.



                                                                                            Co iplainaw's s natm•e

                                                                                            FBI SA Mark Shafer
                                                                                             Printed name and title

Sworn to before me and signed in my presence.


Date:             03/04/2016
                                                                                               Judge 's sigr?aMee'
                                                                                                            i
City and state:                         NASHVILLE, TN                          oe B. Brown, United State`s Magistrate Judge
                                                                                             Printed namme and tine



                 Case 3:16-cr-00079 Document 3 Filed 03/04/16 Page 1 of 7 PageID #: 3
                 AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

I, Mark Shafer, being first duly sworn under oath, states as follows:

   1. Your affiant is a Special Agent with the Federal Bureau of Investigation and has been so
      employed for eighteen years. As a Special Agent (SA), I am charged with the duty of
      investigating violations of the laws of the United States Code and collecting evidence in
      matters in which the United States is or may be a party of interest. I am currently
      assigned to the Nashville Violent Crime Gang Task Force of the Memphis Division of the
      FBI and, as such, am charged with investigating the range of violent incident crimes,
      including violations of 18 U.S.C. § 115.

   2. I make this affidavit, in part, on personal knowledge based upon my direct participation
      in this investigation, and, in part, upon information learned during the course of this
      investigation from other sources. I am familiar with the facts and circumstances of this
      matter and the assertions made in this affidavit are based on first-hand knowledge or
      information received during the course of the investigation. Unless otherwise noted, the
      referenced information was provided by a person who may have either direct or hearsay
      knowledge of the statement. Except where indicated, all statements referred to below are
      set forth in substance and in part, rather than verbatim.


   3. This affidavit is being submitted to establish the basis for the Criminal Complaint, but
      does not set forth each and every detail kilown by your affiant regarding this investigation
      for the arrest of Ahmed Mohamed Sheikh Osman for threats against a federal law
      enforcement officer, in violation of Title 18, United States Code, Section I I5(a)(1)(B).


   4. SA Patrick Wright, a duly sworn law enforcement officer who is employed as a Special
      Agent at the Nashville office of the Federal Bureau of Investigation, was conducting
      official business on January 29, 2016. Pursuant to those official duties and as part of an
      ongoing federal investigation, SA Wright went to a known address for Ahmed Mohamed
      Sheilah Osman, date of birth * */* */1975, Social Security Number ***-**-4481, in
      Antioch, Tennessee. When arriving at the address in Antioch, Temlessee, SA Wright did
      not make in-person contact with Osman. SA Wright then contacted cellular phone
      number 615-977-7219, which was reportedly utilized by Osman. The call was placed
      from SA Wright's official cell- phone from Nashville, Tennessee. At the beginning of the
      conversation, SA Wright identified himself as an FBI Special Agent. Osman
      subsequently identified himself and stated that he did live at the address in Antioch,
      Temlessee, but that he was in Arizona and would be in Arizona for a few additional days.


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      Case 3:16-cr-00079 Document 3 Filed 03/04/16 Page 2 of 7 PageID #: 4
5. The phone conversation was described as cordial in nature. At the conclusion of the
    conversation, SA Wright requested Osman call him upon his return to the Nashville,
    Tennessee area. Osman confirmed with SA Wright that the 615-977-7219 number is the
    best number to reach him. SA Osman suggested that Osman look up the number to the
    FBI office on the internet and verify SA Wright's identity if Osman desired.

6. On Monday, February 1, 2016, SA Wright received a series of text messages on SA
    Wright's cellular telephone from 615-977-7219. The text messages included, in relevant
    part, the statements:

                A. Yo mr FBI iama be around AZ for a while But you
                   know what send me your name then I will have you
                   booked the first non stop flight to come to me then
                   I will make a luxury hotel reservation for you then
                   when you come around you must open your mouth
                   and tell me what's up
                B. I will take care of the expense you just tell me
                   what's up How much do you make a year?????
                C. Not that I am trying to pay you off but I always pay
                   for my freedom in the united States Iam not a
                   refugee I belong to a rich powerfiil and the most
                   fearful heron in Somalia
                D. Let's do business never visit my house you gonna
                   make my mom shocked and me you gorma make
                   me wanna be stupid


7. SA Wright did not respond to the text messages, but did take a subsequent call from 615-
    977-7219 later on February 1, 2016. During that call, Osman identified himself and
    indirectly acknowledged malting the previous texts by referencing the texts themselves.
    SA Wright requested Osman make contact with the Phoenix office of the FBI since
    Osman purportedly planned to remain in the Phoenix area for an unknown duration.

8. On February 25, 2016, at approximately 3:20 a.m., through March 4, 2016, SA Wright
    received numerous additional text messages from the 615-977-7219 number. The text
    messages included, in relevant part, the statements:

                A. On February 25, 2016
                       a. FBI a good???


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  Case 3:16-cr-00079 Document 3 Filed 03/04/16 Page 3 of 7 PageID #: 5
                 b. For routine check calls
           B. On February 28, 2016, while SA Wright was in
              Wilson County, within the Middle District of
              Tennesee, when he received the following text
              messages:
                 a. U r not not available at all a man u u u
                    understand listen u r ignoring my phones
                    okY but I want a to know that NO UNTIED
                    STATES        OF       AMERICA           LAW
                    OFFECIALS scare of a answering me So u
                    r the bad guy and u r dead ffffffff dead
                 b. I will find u
                 c. U rrr dead
                 d. Fffffffff fuck a and who a work for a fake
                    ass
                 e. lied to me
                 f. U r a lying FBI yyyyyyy??????
                 g. U made a wrong turn
                 h. U r a talking steak
                 i. HXaaa
                 j.   Dead
                 k. Dead
                1.    U r not FBI
                 m. U r haaaaaaa a made a wrong fucken turn
                 n. U r so fucken dead dead dead
                 o. Jus wait
                 p. Soon
                 q. U think a hillbilly ass like a would call me
                    and use FBI title well u r and all ur family
                    ur coworkers a fucken even everyone knows
                    u's life is to be
                r. Terminated
                s. Eliminated

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Case 3:16-cr-00079 Document 3 Filed 03/04/16 Page 4 of 7 PageID #: 6
                 t. Erased
                 u. Desposed
           C, On March 1, 2016
                 a. U lied to me a identified my home my
                    vehicle u r not answering my calls u r to be
                    taken down ASAP
                 b. U r a talking steak
           D. On March 3, 2016
                 a. U r one fucken dead United states F Fucken
                    BI
                 b. U think a can call me and get away with it u
                    r fucken dead Fuck a and who ever fucken
                    gave the fiicken chance to call me visit my
                    home identify my vehicle
                 c. U R DEAD
                 d. U r dead Mr united States of FBI
                 e. Ffffffffffff
                 f. U lied
                 g. Fffff a wRu_@


                 i. U r ffffffff dead
                 j.   U r to be taken down
                 k. Now
                 1,   Lying ass bitch
                 in. HXaaaaaaaaaaaaaaa
                 n. Ffffff
                 o. Ffffffff fuck
                 p. I will find u
                 q. Insha ALLAH
                 r. I will pay a lot to figure our your location
                    by pin pointing your most call area fuck
                    your hillbilly red nick ass neighbor's zone

                                        4

Case 3:16-cr-00079 Document 3 Filed 03/04/16 Page 5 of 7 PageID #: 7
                           family loved ones and even dead already
                           loved ones fuck I will still kill them second
                           times You Are dead
                E. On March 4, 2016:
                    U r dead
                   Fuck a flick the united States FBI federal berue of
                   investigations
                   Fffffff u laid
                   U r deax
                   Dead
                   Dead Ffffffff w r u a@!?!?!?????
                   ALLAHU AKBAR ur dead
                   For lying
                   U r mistaken hillbilly ass nigar
                   A bitch ass nigar
                   U used the USA FBI title
                   U r dead
                   Ur family
                   All known u
                   Ffffffffffff




9. At approximately 4:23 a.m. on March 3, 2016, SA Wright received a voicemail message.
   SA Wright's call log reflected the call originated from the same 615-977-7219 number.
   In the message, the caller threatened SA Wright while invoking Allah and Mohammad.

10. On February 1, 2016, SA Wright was working in the Middle District of Temiessee, and
    his immediate family was present in the Middle District of Tennessee. On February 25,
    2016, SA Wright was working in the Northern District of Alabama, while his immediate
    family was present in the Middle District of Tennessee. On February 28, 2016, SA
    Wright was present in the Middle District of Tennessee with his immediate family. On
    March 1, 3, and 4 of 2016, SA Wright was working in the Northern District of Alabama,
    while his immediate family was present in the Middle District of Temnessee.


                                           5

  Case 3:16-cr-00079 Document 3 Filed 03/04/16 Page 6 of 7 PageID #: 8
    11. SA Wright identified the caller from the March 3, 2016 4:23 a.m, call as the same voice
        with whom he had spoken to on the two previous occasions (January 29, 2016, and
        February 1, 2016), and who identified himself as Ahmed Mohamed Osman,

    12. A query of public records revealed that cellular phone number 615-977-7219 is
        associated with Ahmed Mohamed Osman, date of birth **/**/1975, Social Security
       Number ***-**-4481, at Osman's known address in Antioch, Tennessee.


    13. Based on the foregoing, your affiant submits there is probable cause to believe that
        Ahmed Mohamed Sheikh Osman committed a violation of Title 18, United States Code,
        Sections 115(a)(1)(B).

             r




         s

Marls Shafer
Special Agent
Federal Bureau of Investigation




Subscribed to and Sworn before me this 4th day of March, 2016.



J.
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     ROWN
   i ' ed States Magistrate Judge
Middle District of Tennessee




       Case 3:16-cr-00079 Document 3 Filed 03/04/16 Page 7 of 7 PageID #: 9
